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 6     and Western Best, Inc. dba Chicken Ranch
 7
                                  UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
       ANGELA WILLIAMS; JANE DOE #1;                   Case No. 2:21-cv-01676-APG-VCF
10     JANE DOE #2,
                                   DEFEN
11                   Plaintiffs,                       DEFENDANTS WESTERN BEST, INC.
            v.                                         D/B/A CHICKEN RANCH AND
12                                                     WESTERN BEST LLC’S NOTICE OF
       STEVE SISOLAK, Governor of Nevada, in           NON-OPPOSITION TO PROPOSED
13     his official capacity; AARON FORD,              INTERVENOR RUSSELL GREER’S
       Attorney General of Nevada, in his official     MOTION FOR RECONSIDERATION
14     capacity; THE CITY OF LAS VEGAS;                TO INTERVENE [ECF No. 182]
       CLARK COUNTY; NYE COUNTY;
15     WESTERN BEST, INC. D/B/A CHICKEN
       RANCH; WESTERN BEST LLC; JAMAL
16     RASHID; MALLY MALL MUSIC, LLC;
       FUTURE MUSIC, LLC; PF SOCIAL MEDIA
17     MANAGEMENT, LLC; E.P. SANCTUARY;
       BLU MAGIC MUSIC, LLC; EXCLUSIVE
18     BEAUTY LOUNGE, LLC; FIRST
       INVESTMENT PROPERTY LLC; V.I.P.
19     ENTERTAINMENT, LLC; MP3
       PRODUCTIONS, INC.; MMM
20     PRODUCTIONS, INC.; SHAC, LLC D/B/A
       SAPPHIRE GENTLEMAN’S CLUB
21     AND/OR SAPPHIRE; SHAC MT, LLC; and
       LAS VEGAS BISTRO, LLC D/B/A LARRY
22     FLYNT’S HUSTLER CLUB,

23                 Defendants.
       _______________________________________
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          1            Defendants Western Best, LLC and Western Best, Inc. dba Chicken Ranch, by and through
          2     their counsel of record, the law firm Fox Rothschild LLP, hereby submit their Notice of Non-
          3
                opposition to Proposed Intervenor Russell Greer’s Motion for Reconsideration to Intervene as
          4
                Defendant Per FRCP 60(b)(1) (ECF No. 182), filed on October 17, 2022.
          5
                       DATED this 21st day of October, 2022.
          6

          7

          8                                              FOX ROTHSCHILD LLP

          9                                              /s/ Deanna L. Forbush
                                                         DEANNA L. FORBUSH
         10                                              REX D. GARNER
                                                         1980 Festival Plaza Drive, Suite 700
         11                                              Las Vegas, NV 89135
                                                         Attorneys for Defendants Western Best, LLC
         12                                              and Western Best, Inc. dba Chicken Ranch
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          1                                       CERTIFICATE OF SERVICE
          2            Pursuant to FRCP 5(b), I certify that I am an employee of Fox Rothschild LLP, over the
          3     age of 21 years and not a party to nor interested in the within action. I certify that on this 21st day
          4     of October 2022, I caused the foregoing document entitled DEFENDANTS WESTERN BEST,
          5     INC. D/B/A CHICKEN RANCH AND WESTERN BEST LLC’S NOTICE OF NON-
          6     OPPOSITION TO PROPOSED INTERVENOR RUSSELL GREER’S MOTION FOR
          7     RECONSIDERATION TO INTERVENE AS A DEFENDANT PER FRCP 60(b)(1) to be
          8     electronically filed with the United States District Court. Electronic service of the foregoing
          9     document shall be made in accordance with the Master Service List as follows:
         10
                 Gregory Louis Zunino                                 Joel K. Browning
         11
                 Nevada State Attorney General’s Office               Clark County District Attorney Civil Division
         12      100 N. Carson Street                                 500 S. Grand Central Pkwy., #5075
                 Carson City, NV 89701                                Las Vegas, NV 89155
         13      GZunino@ag.nv.gov                                    Joel.browning@clarkcountyda.com
                 sgeyer@ag.nv.gov                                     Attorneys for Clark County
         14      Attorneys for Governor Sisolak
         15      And Attorney General of Nevada Ford

         16      Jeffrey L. Galliher                                  Brent L. Ryman Erickson
                 Las Vegas City Attorney’s Office                     Thorpe & Swainston, Ltd.
         17      495 S. Main Street, 6th Floor                        99 W. Arroyo
                 Las Vegas, NV 89101                                  PO Box 3559
         18      jgalliher@lasvegasnevada.gov                         Reno, NV 89505
         19      Attorneys for the City of Las Vegas                  bryman@etsreno.com
                                                                      Attorneys for Nye County
         20

         21

         22                                                      /s/ Jineen DeAngelis
         23                                                      An Employee of Fox Rothschild LLP

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